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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                                   )
JOCELYN MAMMEN,                    )
                                   )
Plaintiff,                         )
                                   )
       v.                          )      Case No.: 0:18-CV-00640-WMW-ECW
                                   )
HARTFORD LIFE &                    )
ACCIDENT INSURANCE                 )      Judge Wilhelmina M. Wright
COMPANY,                           )      Magistrate Judge Elizabeth Cowan Wright
                                   )
Defendants.                        )
                                   )

                            STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto,

by their respective undersigned attorneys, that the above-entitled action by Plaintiff is

hereby dismissed on its merits with prejudice by stipulation of the parties, without costs,

disbursements or attorneys’ fees to any party, and that a judgment of dismissal with

prejudice and on the merits may be entered in the above-entitled action pursuant hereto.

Dated: November 26, 2018                  HELLMUTH & JOHNSON, PLLC


                                          /s/ Denise Yegge Tataryn (w/consent)
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                                          Attorney for Plaintiff
      CASE 0:18-cv-00640-WMW-ECW Doc. 35 Filed 11/26/18 Page 2 of 2




Dated: November 26, 2018         Chittenden, Murday & Novotny LLC


                                 /s/ Elizabeth G. Doolin
                                 Elizabeth G. Doolin
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